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15                                               DEVRIES, P.C., ADAM ALPER, ADAM R.
                                                 ALPER, P.C., AKSHAY DEORAS, AKSHAY S.
16                                               DEORAS, P.C., AND MARK FAHEY

17                                   UNITED STATES DISTRICT COURT

18                              NORTHERN DISTRICT OF CALIFORNIA

19                                         OAKLAND DIVISION
20   ZOYA KOVALENKO,                               Case No. 4:22-cv-05990-HSG

21                      Plaintiff,                 STIPULATED REQUEST FOR ORDER
                                                   EXTENDING TIME REGARDING
22            v.                                   DEFENDANTS’ MOTION TO DISMISS
                                                   AMENDED COMPLAINT, DKT. NO.
23   KIRKLAND & ELLIS LLP, MICHAEL DE              102, AND ORDER
     VRIES, MICHAEL W. DEVRIES, P.C.,
24   ADAM ALPER, ADAM R. ALPER, P.C.,              [Civil L.R. 6-1(b) & 6-2]
     AKSHAY DEORAS, AKSHAY S.
25   DEORAS, P.C., AND MARK FAHEY,

26                      Defendants.

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28
      STIPULATED REQ. FOR ORDER EXTENDING
      TIME RE MOT. DISMISS AMENDED                                NO. 4:22-CV-05990-HSG
      COMPLAINT, DKT. NO. 102
     4160-0574-3180.1
       Case 4:22-cv-05990-HSG Document 106 Filed 10/30/23 Page 2 of 5



 1            Plaintiff Zoya Kovalenko (“Plaintiff”) and Defendants Kirkland & Ellis LLP, Michael De

 2   Vries, Michael W. DeVries, P.C., Adam Alper, Adam R. Alper, P.C., Akshay Deoras, Akshay S.

 3   Deoras, P.C., and Mark Fahey (collectively “Defendants”) (Plaintiff and Defendants together, the

 4   “Parties”) hereby stipulate under Civil Local Rule 6-2(a) to request an order extending time for

 5   Plaintiff to file an opposition to Defendants’ motion to dismiss the amended complaint filed in

 6   this case, Defs.’ Mot. Dismiss, Dkt. No. 102 (the “Motion”), and for Defendants to file a reply.

 7            On August 23, 2023, this Court issued its Order Denying in Part and Granting in Part Mots.

 8   Dismiss, Denying Mots. Strike, and Denying in Part and Granting in Part Mot. Seal. Dkt. No. 92

 9   (ruling on Defendants’ motions at Dkt. Nos. 24, 30, 31, 34, 35, 36, 37, 38, 53). On September

10   20, 2023, Plaintiff timely filed her amended complaint pursuant to the Order. Dkt. No. 94. On

11   September 26, 2023, at Defendants’ request, the parties stipulated under Civil Local Rule 6-2 to

12   extend time for Defendants to file an answer to the amended complaint to October 18, 2023.

13   Stipulation to Enlarge Time to File Answer, Dkt. No. 95 (Sept. 26, 2023). The Court granted the

14   request for an order pursuant to stipulation. Dkt. No. 96 (Sept. 27, 2023). On October 18, 2023,

15   Defendants filed the Motion. Dkt. No. 102.

16            The parties hereby stipulate to extend the deadline for Plaintiff to oppose the Motion from

17   November 1, 2023 to November 22, 2023 and the deadline for Defendants to reply from November

18   8, 2023 to December 13, 2023.

19            Plaintiff contends the requested extension is warranted because the Motion is a dispositive
20   motion, and additional time is needed for Plaintiff to review and substantively address each issue

21   raised by Defendants, and the extension is necessary to avoid significant prejudice to Plaintiff.

22   Decl. of Zoya Kovalenko in Support of Stipulated Request for Order Extending Time Regarding

23   Seventh Mot. Dismiss (“Kovalenko Decl.”) ¶ 4 (noting it is Plaintiff’s position that the Motion

24   raises issues and arguments that Defendants could have but did not raise earlier in their plethora

25   of motions attacking complaint); see also Dkt. Nos. 24, 30, 31, 34, 35, 36, 37, 38 (Defendants’

26   prior motions attacking complaint). Plaintiff and her retained counsel have identified local

27   counsel and anticipate filing a notice of appearance and application to appear pro hac vice next

28   week. Kovalenko Decl. ¶ 4. An extension is thus also warranted to allow Plaintiff’s counsel time
      STIPULATED REQ. FOR ORDER EXTENDING
      TIME RE MOT. DISMISS AMENDED                 1               NO. 4:22-CV-05990-HSG --------
                                                                                              (TSH)
      COMPLAINT [102]
     4160-0574-3180.1
       Case 4:22-cv-05990-HSG Document 106 Filed 10/30/23 Page 3 of 5



 1   to appear, to file an application to appear pro hac vice, and to prepare an opposition to the Motion.

 2   Kovalenko Decl. ¶ 4.

 3            The previous time modifications in the case are described below. Kovalenko Decl. ¶ 5.

 4                      a. The parties stipulated under Civil Local Rule 6-2 to request an order specially

 5                         setting a briefing schedule on Defendants’ motions filed in response to the

 6                         Complaint. Dkt. No. 43 (Dec. 20, 2022). The Court granted the request for an

 7                         order pursuant to stipulation. Dkt. No. 44 (Dec. 21, 2022).

 8                      b. The parties stipulated under Civil Local Rule 6-2 to request an order extending

 9                         deadlines regarding initial discovery protocols per General Order No. 71 and

10                         modifying the briefing schedule for Kirkland & Ellis LLP’s Anti-SLAPP

11                         motion. Dkt. No. 59 (Jan. 9, 2023). The Court granted the request for an order

12                         pursuant to stipulation. Dkt. No. 61 (Jan. 10, 2023).

13                      c. The parties stipulated under Civil Local Rule 6-1(a) and Federal Rule of Civil

14                         Procedure 29(b) to extend time for Plaintiff to object/respond to Kirkland’s first

15                         sets of interrogatories and requests for production from September 7, 2023 to

16                         October 9, 2023, Dkt. No. 93 (Aug. 30, 2023), and from October 9, 2023 to

17                         November 8, 2023, Dkt. No. 100 (Oct. 6, 2023).

18                      d. The parties stipulated under Civil Local Rule 6-2 to request an order enlarging

19                         time for Defendants to file an answer to the amended complaint from October

20                         4, 2023 to October 18. 2023. Stipulation to Enlarge Time to File Answer, Dkt.

21                         No. 95 (Sept. 26, 2023). The Court granted the request for an order pursuant to

22                         stipulation. Dkt. No. 96 (Sept. 27, 2023).

23            The Court has not yet entered a scheduling order in this case. Kovalenko Decl. ¶ 6. Thus,

24   the brief extensions of time requested here would have no effect on any schedule for the case.

25   Kovalenko Decl. ¶ 6.

26   Respectfully submitted this 27th day of October, 2023.

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      STIPULATED REQ. FOR ORDER EXTENDING
      TIME RE MOT. DISMISS AMENDED                        2               NO. 4:22-CV-05990-HSG
      COMPLAINT, DKT. NO. 102
     4160-0574-3180.1
       Case 4:22-cv-05990-HSG Document 106 Filed 10/30/23 Page 4 of 5



 1                                                    /s/ Zoya Kovalenko
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 4
                                                      Plaintiff
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 7
                                                      /s/ Kate Juvinall
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12                                                    Attorneys for Defendants

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14                           CIVIL LOCAL RULE 5-1(i)(3) ATTESTATION
15
             Pursuant to Civil Local Rule 5-1(i)(3), I attest that the other signatory has concurred in the
16   filing of this document.

17    Dated: October 27, 2023                         /s/ Zoya Kovalenko
                                                      Zoya Kovalenko
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20
                                                      Plaintiff
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      STIPULATED REQ. FOR ORDER EXTENDING
      TIME RE MOT. DISMISS AMENDED                      3               NO. 4:22-CV-05990-HSG
      COMPLAINT, DKT. NO. 102
     4160-0574-3180.1
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 1                                                ORDER

 2   PURSUANT TO STIPULATION, IT IS SO ORDERED.
 3    Dated: 10/30/2023
 4

 5                                HAYWOOD S. GILLIAM, JR.
                                  United States District Judge
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      ORDER RE STIPULATED REQ. FOR ORDER
      EXTENDING TIME RE MOT. DISMISS          1             NO. 4:22-CV-05990-HSG
      AMENDED COMPLAINT, DKT. NO. 102
     4160-0574-3180.1
